              Case 23-10467-KHK                   Doc 1     Filed 03/23/23 Entered 03/23/23 16:44:30                               Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF VIRGINIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Bridge Communications LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  7501 Dunquin Ct.
                                  Clifton, VA 20124
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Fairfax                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://newswatchtv.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Bridge Communications LLC                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5121

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Bridge Communications LLC                                                                       Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                  $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

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Debtor   Bridge Communications LLC                                                 Case number (if known)
         Name

                            $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                            $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                            $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
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Debtor    Bridge Communications LLC                                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 23, 2023
                                                  MM / DD / YYYY


                             X   /s/ Edward Tropeano                                                      Edward Tropeano
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Owner




18. Signature of attorney    X   /s/ Ashvin Pandurangi, Esq.                                               Date March 23, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Ashvin Pandurangi, Esq. 86966
                                 Printed name

                                 Vivona Pandurangi, PLC
                                 Firm name

                                 211 Park Ave.
                                 Falls Church, VA 22046
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     5719696540                    Email address      ashvinp@vpbklaw.com

                                 86966 VA
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Bridge Communications LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF VIRGINIA                                                                        Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 AMC                                                                                                                                                             $12,750.00
 11 Penn Plaza
 15th Floor
 New York, NY 10001
 Amex                                                credit card                                                                                                 $19,073.00
 PO Box 981540
 El Paso, TX 79998
 Amex                                                credit card                                                                                                   $2,060.00
 PO Box 981540
 El Paso, TX 79998
 Capital One Bank                                    credit card                                                                                                 $30,427.00
 Attn: Bankruptcy
 PO Box 30285
 Salt Lake City, UT
 84130
 Capytal/NewCo                                                                                              $36,250.00                        $0.00              $36,250.00
 Capital                   abraham@bblawpll
 90 Broad St.              c.com
 New York, NY 10004
 Chase Card                                          credit card                                                                                                 $49,900.00
 Services
 PO Box 15298
 Wilmington, DE
 19850
 Liquidbee 1 LLC                                                                                            $32,500.00                        $0.00              $32,500.00
 295 Madison Ave.          ebrown@merelcor
 FL 22                     p.com
 New York, NY 10017
 OnDeck Capital Inc.                                                                                        $85,800.00                        $0.00              $85,800.00
 4700 W. Daybreak          TGray@ondeck.co
 Pkwy                      m
 Suite 200
 South Jordan, UT
 84009




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Bridge Communications LLC                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Rapid Finance                                                                                              $61,490.00                        $0.00              $61,490.00
 4500 East West            arringtonanderson
 Highway                   @rapidfinance.com
 6th Floor
 Bethesda, MD 20814
 Small Business                                                                                            $125,000.00                        $0.00            $125,000.00
 Administration
 14925 Kingsport Rd.
 Fort Worth, TX
 76155
 Stripe Inc.                                                                                                                                                   $109,800.00
 510 Townsend St.
 San Francisco, CA
 94103
 Swift                                                                                                                                                         $100,000.00
 Financia/Loanbuilde
 r
 Attn: Bankruptcy
 3505 Silverside Rd.
 Wilmington, DE
 19810
 Swift                                                                                                                                                           $49,327.00
 Financia/Loanbuilde
 r
 Attn: Bankruptcy
 3505 Silverside Rd.
 Wilmington, DE
 19810
 The Fundworks LLC                                                                                         $155,000.00                        $0.00            $155,000.00
 5990 Sepulveda            evan@thefundwork
 Blvd.                     s.com
 Suite 310
 Van Nuys, CA 91411
 Third Gould LLC                                                                                                                                                 $52,400.00
 14401 Sweitzer Lane
 2nd Floor
 Laurel, MD 20707
 Truist Bank                                         Business loan                                                                                               $37,907.00
 PO Box 580340
 Charlotte, NC 28258
 Truist Bank                                         credit card                                                                                                 $31,453.00
 PO Box 580340
 Charlotte, NC 28258
 VitalCap Fund                                                                                              $32,000.00                        $0.00              $32,000.00
 48 Wall St., 10th         sol@landklegal.co
 Floor                     m
 New York, NY 10005




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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 Debtor    Bridge Communications LLC                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 Wilmington Savings                                                                                        $320,425.00                        $0.00            $320,425.00
 Fund                      AndersonN@ballar
 500 Delaware              dspahr.com
 Avenue.
 Wilmington, DE
 19801
 Wilmington Savings                                                                                        $220,000.00                        $0.00            $220,000.00
 Fund                      AndersonN@ballar
 500 Delaware              dspahr.com
 Avenue.
 Wilmington, DE
 19801




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3
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                        Abraham Smith
                        Berkovitch & Bouskila PLLC
                        1545 Route 202, Suite 101
                        Pomona, NY 10970


                        AMC
                        11 Penn Plaza
                        15th Floor
                        New York, NY 10001


                        Amex
                        PO Box 981540
                        El Paso, TX 79998


                        Ballard Spahr LLP
                        1909 K St NW
                        12th Floor
                        Washington, DC 20006


                        Capital One Bank
                        Attn: Bankruptcy
                        PO Box 30285
                        Salt Lake City, UT 84130


                        Capytal/NewCo Capital
                        90 Broad St.
                        New York, NY 10004


                        Chase Card Services
                        PO Box 15298
                        Wilmington, DE 19850


                        Corporation Service Company
                        801 Adlai Stevenson Dr.
                        Springfield, IL 62703


                        IRS
                        Centralized Insolvency Op
                        PO Box 7346
                        Philadelphia, PA 19101


                        Liberman and Klestzick LLP
                        71 S. Central Ave.
                        Valley Stream, NY 11580
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                    Liquidbee 1 LLC
                    295 Madison Ave.
                    FL 22
                    New York, NY 10017


                    Merel Corp.
                    111 John Street
                    Suite 1210
                    New York, NY 10038


                    Nielsen
                    675 6th Street
                    New York, NY 10011


                    OnDeck Capital Inc.
                    4700 W. Daybreak Pkwy
                    Suite 200
                    South Jordan, UT 84009


                    Rapid Finance
                    4500 East West Highway
                    6th Floor
                    Bethesda, MD 20814


                    Small Business Administration
                    14925 Kingsport Rd.
                    Fort Worth, TX 76155


                    Stripe Inc.
                    510 Townsend St.
                    San Francisco, CA 94103


                    Swift Financia/Loanbuilder
                    Attn: Bankruptcy
                    3505 Silverside Rd.
                    Wilmington, DE 19810


                    The Fundworks LLC
                    5990 Sepulveda Blvd.
                    Suite 310
                    Van Nuys, CA 91411


                    Third Gould LLC
                    14401 Sweitzer Lane
                    2nd Floor
                    Laurel, MD 20707
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                    Truist Bank
                    PO Box 580340
                    Charlotte, NC 28258


                    VitalCap Fund
                    48 Wall St., 10th Floor
                    New York, NY 10005


                    Wilmington Savings Fund
                    500 Delaware Avenue.
                    Wilmington, DE 19801
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                                          United States Bankruptcy Court
                                                Eastern District of Virginia
 In re   Bridge Communications LLC                                                     Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Bridge Communications LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



  None [Check if applicable]




March 23, 2023                                   /s/ Ashvin Pandurangi, Esq.
Date                                             Ashvin Pandurangi, Esq. 86966
                                                 Signature of Attorney or Litigant
                                                 Counsel for Bridge Communications LLC
                                                 Vivona Pandurangi, PLC
                                                 211 Park Ave.
                                                 Falls Church, VA 22046
                                                 5719696540 Fax:5719696540
                                                 ashvinp@vpbklaw.com
